Case 2:03-CV-02713-SHI\/|-tmp Document 31 Filed 08/19/05 Page 1 of 2 Page|D 44

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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NANCY NEAGLE,

Plaintiff,
v. Cv. No. 03-2713-Ma
JA.MES GANNON and USA TRUCK, INC.I,r

Defendants.

JUDGMENT
Decision. by' Court. This action came for consideration

before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance With the Consent Order of Dismissal With Prejudice,

docketed July 29, 2005.

APPRO D:
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SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RICT JUDGE

 

 

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This notice confirms a copy of the document docketed as number 31 in
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Honorable Samuel Mays
US DISTRICT COURT

